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10               THE UNITED STATES DISTRICT COURT
11        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
12   JANE DOE, aka Ariel, an      ) Case No.:
13   individual,                  ) COLLECTIVE ACTION
                                  )
14                     Plaintiff, ) COMPLAINT FOR DAMAGES
15            vs.                 ) 1. Failure to Pay Minimum Wage,
                                  )    29 U.S.C. § 206;
16   THREE GROUP, INC. dba CRAZY ) 2. Failure to Pay Overtime Wages,
17   GIRLS, a California Limited  )    29 U.S.C. § 207; and
     Liability Company; MARCELLE  ) 3. Unlawful Taking of Tips,
18   EZERZER, an individual; DOE  )    29 U.S.C. § 203;
19   MANAGERS 1-3; and DOES 4-    )
     100, inclusive,              ) DEMAND FOR JURY TRIAL
20                                )
21                    Defendants. )
                                  )
22                                )
23                                )
                                  )
24                                )
25                                )
                                  )
26
                                  )
27                                )
28
           COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1           Plaintiff JANE DOE, aka ARIEL (“Plaintiff”), individually and on behalf
 2   of all other similarly situated, alleges the following upon information and belief,
 3   based upon investigation of counsel, published reports, and personal knowledge:
 4   I.      NATURE OF THE ACTION
 5           1.     Plaintiff alleges causes of action against defendants THREE
 6   GROUP, INC. dba CRAZY GIRLS (“Defendant” or “Crazy Girls”), a California
 7   Limited Liability Company; MARCELLE EZERZER (“Defendant” or
 8   “Ezerzer”), an individual; DOE MANAGERS 1-3; and DOES 4-100, inclusive
 9   (collectively, “Defendants”) for damages due to Defendants evading the
10   mandatory minimum wage and overtime provisions of the Fair Labor Standards
11   Act (“FLSA”), 29 U.S.C. §§ 201, et seq. and illegally absconding with Plaintiff’s
12   tips.
13           2.     As a result of Defendants’ violations, Plaintiff seeks to recover all
14   tips kept by the employer, liquidated damages, interest, and attorneys’ fees and
15   costs pursuant to the FLSA.
16           3.     These causes of action arise from Defendants’ willful actions while
17   Plaintiff was employed by Defendants over the past year. During her time being
18   employed by Defendants, Plaintiff was denied minimum wage payments and
19   denied overtime as part of Defendants’ scheme to classify Plaintiff and other
20   dancers/entertainers as “independent contractors.” As the Department of Labor
21   explained in a recent Administrative Interpretation:
22
                  Misclassification of employees as independent contractors is
23
                  found in an increasing number of workplaces in the United
24                States, in part reflecting larger restructuring of business
25                organizations. When employers improperly classify
                  employees as independent contractors, the employees may
26                not receive important workplace protections such as the
27                minimum wage, overtime compensation, unemployment
                  insurance, and workers’ compensation. Misclassification
28
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                 also results in lower tax revenues for government and an
 1
                 uneven playing field for employers who properly classify
 2               their workers. Although independent contracting
 3               relationships can be advantageous for workers and
                 businesses, some employees may be intentionally
 4               misclassified as a means to cut costs and avoid compliance
 5               with labor laws.1

 6
            As alleged in more detail below, that is exactly what Defendants are, and
 7
     were at all times relevant, doing.
 8
            4.     Plaintiff worked at Defendants’ principal place of business located at
 9
     1433 N. La Brea Ave., Los Angeles 90028.
10
            5.     Crazy Girls failed to pay Plaintiff minimum wages and overtime
11
     wages for all hours worked in violation of 29 U.S.C. §§ 206 and 207 of the
12
     FLSA.
13
            6.     Defendants’ conduct violates the FLSA, which requires non-exempt
14
     employees to be compensated for their overtime work at a rate of one and one-
15
     half (1 ½) times their regular rate of pay. See 29 U.S.C. § 207(a).
16
            7.     Furthermore, Defendants’ practice of failing to pay tipped
17
     employees pursuant to 29 U.S.C. § 203(m), violates the FLSA’s minimum wage
18
     provision. See 29 U.S.C. § 206.
19
            8.     Plaintiff brings a collective action to recover the unpaid overtime
20
     compensation and minimum wage owed to her individually and on behalf of all
21
     other similarly situated employees, current and former, of Defendants in
22
     California. Members of the Collective Action are hereinafter referred to as
23
     “FLSA Class Members.”
24
            9.     As a result of Defendants’ violations, Plaintiff and the FLSA Class
25
     Members seek to recover double damages for failure to pay minimum wage,
26
27   1
         See DOL Admin. Interp. No. 2015-1, available at
28       http://www.dol.gov/whd/workers/Misclassification/AI- 2015_1.pdf.
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 1   overtime liquidated damages, interest, and attorneys’ fees.
 2    II.   VENUE AND JURISDICTION
 3          10.   This Court has jurisdiction over the subject matter of this action
 4   under 28 U.S.C. § 1331 because this action arises under the FLSA, 29 U.SC. §
 5   201, et seq. Plaintiff’s state law claim for relief are within the supplemental
 6   jurisdiction of the Court pursuant to 28 U.S.C. § 1367(a).
 7          11.   Venue is proper in this District because at least fifty (50) percent of
 8   all known Defendants reside in Los Angeles County. Further, venue is proper in
 9   this District because all or a substantial portion of the events forming the basis of
10   this action occurred in this District. Defendants’ club is located in this District
11   and Plaintiff worked in this District.
12          12.   Plaintiff has satisfied all conditions precedent, if any, to the filing of
13   this suit.
14   III.   PARTIES
15          13.   Plaintiff is an individual adult resident of the State of California.
16   Furthermore, Plaintiff was employed by Defendants and qualifies as an
17   “employee” of Defendants as defined by the FLSA, 29 U.S.C. § 203(e)(1). Her
18   consent to this action is attached hereto as Exhibit 1.
19          14.   The FLSA Class Members are all current and former exotic
20   dancers/entertainers who worked at Crazy Girls located at 18229 Canoga Park
21   Avenue, Canoga Park, California 91304 at any time starting three (3) years
22   before this Complaint was filed, up to the present.
23          15.   Three Group, Inc. dba Crazy Girls is a California corporation with
24   its principal place of business at 1433 N. La Brea Ave., Los Angeles 90028. At
25   all times mentioned herein, Crazy Girls was an “employer” or “joint employer”
26   of Plaintiff as defined by the FLSA, 29 U.S.C. § 203(d) and (g). Crazy Girls may
27   be served via its agent for service of process Marcelle Ezerzer, 11101 Mont
28   Castle Drive, Stuido City, California 91604.
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 1         16.    Ezerzer was/is the main manager who executed the policies
 2   regarding payment to dancers/entertainers and management of
 3   dancers/entertainers, including Plaintiff. Ezerzer is also the owner of Crazy Girls
 4   and resides in Los Angeles County, California.
 5         17.    Ezerzer acted directly or indirectly on behalf of Crazy Girls, and, at
 6   all times mentioned herein was an “employer” or “joint employer” of Plaintiff
 7   within the meaning of the FLSA. He exerted operational and management control
 8   over Crazy Girls, including day to day management. He is the only member of
 9   the LLC and frequently present at, owned, directed, controlled and managed the
10   operations at Crazy Girls. He also controlled the nature, pay structure, and
11   employment relationship of Plaintiff and the FLSA Class Members. Ezerzer had
12   at all times relevant to this lawsuit, the authority to hire and fire employees at
13   Crazy Girls, the authority to direct and supervise the work of employees, the
14   authority to sign on the business’ checking accounts, including payroll accounts,
15   and the authority to make decisions regarding employee compensation and
16   capital expenditures. Additionally, he was responsible for the day-to-day affairs
17   of Crazy Girls. In particular, he was responsible for determining whether Crazy
18   Girls complied with the FLSA.
19         18.    DOE MANAGERS 1-3 are the managers/owners who control the
20   policies and enforce the policies related to employment at Crazy Girls.
21         19.    At all material times, Defendants have been an enterprise in
22   commerce or in the production of goods for commerce within the meaning of 29
23   U.S.C. § 203(r)(1) of the FLSA because they have had employees at their club
24   engaged in commerce their club which has travelled in interstate commerce.
25   Moreover, because of Defendants’ interrelated activities, they function in
26   interstate commerce. 29 U.S.C. § 203(s)(1).
27         20.    Furthermore, Defendants have had, and continue to have, an annual
28   gross business volume in excess of the statutory standard.
           COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1         21.    At all material times during the three (3) years prior to the filing of
 2   this action, Defendants categorized all dancers/entertainers employed at Crazy
 3   Girls as “independent contractors” and have failed and refused to pay wages or
 4   compensation to such dancers/entertainers. Plaintiff was an individual employee
 5   who engaged in commerce or in the production of goods for commerce as
 6   required by 29 USC §§ 206-207.
 7         22.    The true names, capacities or involvement, whether individual,
 8   corporate, governmental or associate, of the Defendants named herein as DOES 4
 9   through 100, inclusive are unknown to Plaintiff who therefore sues said
10   Defendants by such fictitious names. Plaintiff prays for leave to amend this
11   Complaint to show their true names and capacities when the same have been
12   finally determined. Plaintiff is informed and believes, and upon such information
13   and belief alleges thereon, that each of the Defendants designated herein as DOE
14   is negligently, intentionally, strictly liable or otherwise legally responsible in
15   some manner for the events and happenings herein referred to, and negligently,
16   strictly liable intentionally or otherwise caused injury and damages proximately
17   thereby to Plaintiff, as is hereinafter alleged.
18         23.    Plaintiff is informed and believes that, at all relevant times herein,
19   Defendants engaged in the acts alleged herein and/or condoned, permitted,
20   authorized, and/or ratified the conduct of its employees and agents, and other
21   Defendants and are vicariously or strictly liable for the wrongful conduct of its
22   employees and agents as alleged herein.
23         24.    Plaintiff is informed and believes, and on that basis alleges that, each
24   of the Defendants acted, in all respects pertinent to this action, as the agent or
25   employee of each other, and carried out a joint scheme, business plan, or policy in
26   all respect thereto and, therefore, the acts of each of these Defendants are legally
27   attributable to the other Defendants, and that these Defendants, in all respects,
28   acted as employer and/or joint employers of Plaintiff in that each of them
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 1   exercised control over her wage payments and control over her duties.
 2          25.      Plaintiff is informed and believes, and on that basis alleges that, at all
 3   relevant times, each and every Defendant has been the agent, employee,
 4   representative, servant, master, employer, owner, agent, joint venture, and alter
 5   ego of each of the other and each was acting within the course and scope of his or
 6   her ownership, agency, service, joint venture and employment.
 7          26.      At all times mentioned herein, each and every Defendant was the
 8   successor of the other and each assumes the responsibility for the acts and
 9   omissions of all other Defendants.
10   IV.    ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
11                                (AGAINST ALL DEFENDANTS)
12          A.       FACTUAL ALLEGATIONS
13          27.      Defendants operate an adult-oriented entertainment facility located
14   at 8229 Canoga Park Avenue, Canoga Park, California 91304. At all times
15   mentioned herein, Defendants were “employer(s)” or “joint employer(s)” of
16   Plaintiff.
17          28.      At all times during the four (4) years prior to the filing of the instant
18   action, Defendants categorized all dancers/entertainers employed by Defendants
19   as “independent contractors” and have failed and refused to pay wages to such
20   dancers.
21          29.      At all times relevant to this action, Defendants exercised a great deal
22   of operational and management control over the subject club, particularly in the
23   areas of terms and conditions of employment applicable to dancers and
24   entertainers.
25          30.      Plaintiff began working as a dancer for Defendants in 2019.
26          31.      The primary duty of a dancer/entertainer is to dance and entertain
27   customers, and give them a good experience. Specifically, a dancer/ entertainer
28   performs stage and table dances, and entertains customers on an hourly basis.
           COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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 1          32.   Stated differently, dancers/ entertainers dance on stage, perform
 2   table dances, and entertain customers in VIP rooms, all while nude or semi-nude.
 3          33.   Plaintiff worked and performed at the adult-oriented entertainment
 4   facility multiple shifts per week. Plaintiff was an integral part of Defendants’
 5   business which operated solely as an adult-oriented entertainment facility
 6   featuring nude or semi-nude female dancers/ entertainers.
 7          34.   Defendants did not pay dancers/ entertainers on an hourly basis.
 8          35.   Defendants exercised significant control over Plaintiff during her
 9   shifts and would demand that Plaintiff stay to 4:00 a.m. or 6:00 a.m. if she
10   worked.
11          36.   Defendants set prices for all VIP performances.
12          37.   Defendants set the daily cover charge for customers to enter the
13   facility and had complete control over which customers were allowed in the
14   facility.
15          38.   Defendants controlled music for Plaintiff’s performances.
16          39.   Defendants controlled the means and manner in which Plaintiff
17   could perform.
18          40.   Defendants placed Plaintiff on a schedule.
19          41.   Defendants had the authority to suspend, fine, fire, or otherwise
20   discipline entertainers for non-compliance with their rules regarding dancing.
21          42.   Defendants actually suspended, fined, fired, or otherwise disciplined
22   entertainers for non-compliance with their rules regarding dancing.
23          43.   Although Defendant allowed dancers/entertainers to choose their
24   own costumes, Defendants reserved the right to decide what a particular
25   entertainer was allowed to wear on the premises. In order to comply with Crazy
26   Girls’ dress and appearance standards, Plaintiff typically expended approximately
27   one (1) hour of time each shift getting ready for work without being paid any
28   wages for such time getting ready.
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 1          44.      Plaintiff was compensated exclusively through tips from Defendants'
 2   customers. That is, Defendants did not pay Plaintiff whatsoever for any hours
 3   worked at their establishment.
 4          45.      Defendants also required Plaintiff to share her tips with Defendants
 5   and other non-service employees who do not customarily receive tips, including
 6   the managers, disc jockeys, and the bouncers.
 7          46.      Defendants are in violation of the FLSA’s tipped-employee
 8   compensation provision, 29 U.S.C. § 203(m), which requires employers to pay a
 9   tipped employee a minimum of $2.13 per hour. Defendants also violated 29
10   U.S.C. § 203(m) when they failed to notify Plaintiff about the tip credit
11   allowance (including the amount to be credited) before the credit was utilized.
12   That is, Defendants’ exotic dancers/entertainers were never made aware of how
13   the tip credit allowance worked or what the amounts to be credited were.
14   Furthermore, Defendants violated 29 U.S.C. § 203(m) because they did not allow
15   Plaintiff to retain all of her tips and instead required that she divide her tips
16   amongst other employees who do not customarily and regularly receive tips.
17   Because Defendants violated the tip-pool law, Defendants lose the right to take a
18   credit toward minimum wage.
19          47.      Defendants exercised significant control over Plaintiff through
20   written and unwritten policies and procedures. Defendants had visibly posted in
21   the employees’ locker room the written employee rules for late arrivals and early
22   leaves and the corresponding fees for which performers would be responsible.
23          48.      Crazy Girls provided and paid for all advertising and marketing
24   efforts undertaken on behalf of Crazy Girls.
25          49.      Crazy Girls paid for the building used by Crazy Girls, maintenance
26   of the facility, the sound system, stages, lights, beverage and inventory used at
27   the facility.
28         50. Defendants made all hiring decisions regarding wait staff, security,
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  1   entertainers, managerial and all other employees on the premises.
  2         51.    Crazy Girls’ opportunity for profit and loss far exceeded Plaintiff’s
  3   opportunity for profit and loss from work at Crazy Girls.
  4         52.    Nude dancing is an integral part of Crazy Girls’ operations. Crazy
  5   Girls’ advertising and logo prominently displays nude dancing for its customers.
  6   Crazy Girls is well known as a “strip club.”
  7         53.    Crazy Girls needs dancers/ entertainers to successfully and
  8   profitably operate the Crazy Girls business model.
  9         54.    The position of dancer/entertainer requires no managerial skill of
 10   others.
 11         55.    The position of dancer/entertainer requires little other skill or
 12   education, formal or otherwise.
 13         56.    The only requirements to become an entertainer at Crazy Girls are
 14   “physical attributes” and the ability to dance seductively. Plaintiff did not have a
 15   formal interview but instead was glanced over “up and down” and participated in
 16   a brief audition by the manager before being offered an employment opportunity.
 17   The amount of skill required is more akin to an employment position than that of
 18   a typical independent contractor. Defendants do not require prior experience as
 19   an entertainer or any formal dance training as a job condition or prerequisite to
 20   employment. Defendants do not require the submission of an application or a
 21   resume as part of the hiring process. In fact, Plaintiff has little or no formal dance
 22   training and experience before auditioning to dance at Crazy Girls.
 23         57.    Defendants failed to maintain records of wages, fines, fees, tips and
 24   gratuities and/or service charges paid or received by dancers/entertainers.
 25         58.    Plaintiff was not paid an hourly minimum wage or any hourly wage
 26   or salary despite being present at Defendants’ facility and required to work and
 27   entertain its customers at any time during an eight-plus (8+) hour work shift.
 28         59. Plaintiff was not paid overtime wages at one-and-a-half (1½) times
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  1   the regular minimum wage rate for any hours worked despite being present at
  2   Defendants’ facility and required to work and entertain its customers for longer
  3   than eight (8) hours per shift.
  4         60.    Plaintiff was not paid an hourly minimum wage for the typical one
  5   (1) hour of time expended prior to each shift to get ready for work, including
  6   applying makeup and hair, and to comply with Defendants’ dress and appearance
  7   standards. Plaintiff estimates that she spent approximately five hundred U.S.
  8   Dollars ($500.00) annually on makeup, hair-related expenses, and outfits.
  9         61.    Plaintiff was not paid an hourly minimum wage for the time she was
 10   required to wait at Crazy Girls until the premises and the parking lot were cleared
 11   of customers.
 12         62.    The FLSA Class Members had the same pay structure and were
 13   under the same controls as Plaintiff.
 14         63.    Plaintiff and FLSA Class Members would work over forty (40)
 15   hours in some weeks each worked for Defendants.
 16         64.    Defendants have never paid Plaintiff and FLSA Class Members any
 17   amount as wages whatsoever, and have instead unlawfully required Plaintiff and
 18   FLSA Class Members to pay them for the privilege of working.
 19         65.    The only source of monies received by Plaintiff (and the class she
 20   seeks to represent) relative to her employment with Defendants came in the form
 21   of gratuities received directly from customers, a portion of which Plaintiff and
 22   the FLSA Class Members were required to pay to Defendants.
 23         66.    Although Plaintiff and FLSA Class Members are required to and do
 24   in fact frequently work more than forty (40) hours per workweek, they are not
 25   compensated at the FLSA mandated time-and-a-half rate for hours in excess of
 26   forty (40) per workweek. In fact, they receive no compensation whatsoever from
 27   Defendants and thus, Defendants violate the minimum wage requirement of
 28   FLSA. See 29 U.S.C. § 206.
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  1            67.   Defendants' method of paying Plaintiff in violation of the FLSA was
  2   willful and was not based on a good faith and reasonable belief that its conduct
  3   complied with the FLSA. Defendants misclassified Plaintiff with the sole intent
  4   to avoid paying her in accordance to the FLSA; the fees and fines described
  5   herein constitute unlawful “kickbacks” to the employer within the meaning of the
  6   FLSA, and Plaintiff is entitled to restitution of such fines and fees.
  7            68.   Plaintiff and the FLSA Class Members who worked at Crazy Girls
  8   performed precisely the same job duties - dancing and entertaining at Crazy
  9   Girls.
 10            69.   Plaintiff and the FLSA Class Members who worked at Crazy Girls
 11   during the applicable limitations period(s) were subject to the same work rules
 12   established by the Defendants as identified above.
 13            70.   Plaintiff and the FLSA Class Members at Crazy Girls were subject
 14   to the terms and conditions of employment and the same degree of control,
 15   direction, supervision, promotion and investment imposed or performed by
 16   Defendants.
 17            71.   Plaintiff and the FLSA Class Members at Crazy Girls during the
 18   applicable limitations period(s) were subject to the same across-the-board,
 19   uniformly applied corporate policy mandated by Defendants.
 20            72.   Plaintiff and the FLSA Class Members at Crazy Girls, during the
 21   applicable limitations period, were subject to the same fees and fines imposed by
 22   Defendants.
 23            73.   As a result of Defendants’ across-the-board, standard operating
 24   procedure of mischaracterizing dancers/entertainers as “independent contractors”
 25   and their consequent failure to pay any wages or compensation whatsoever, it is a
 26   certainly that numerous other current and former dancers and entertainers who
 27   worked at Crazy Girls during the applicable limitations period would elect to
 28   participate in this action if provided notice of same.
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  1            74.   Upon information and belief, more than one hundred (100) dancers
  2   and entertainers have worked at Crazy Girls during the three (3) to five (5) years
  3   prior to the filing of this action.
  4            75.   Plaintiff is “similarly situated” to the 29 U.S.C. § 216(b) class of
  5   persons she seeks to represent, and will adequately represent the interests of the
  6   class.
  7            76.   Plaintiff has hired Counsel experienced in class actions and in
  8   collective actions under 29 U.S.C. § 216(b) who will adequately represent the
  9   class.
 10            77.   Defendants failed to keep records of tips, gratuities and/or service
 11   charges paid to Plaintiff or any other dancer/entertainer and failed to maintain
 12   and furnish wage statements to Plaintiff.
 13            78.   Federal law mandates that an employer is required to keep for three
 14   (3) years all payroll records and other records containing, among other things, the
 15   following information:
 16            a.    The time of day and day of week on which the employees’ work
 17                  week begins;
 18            b.    The regular hourly rate of pay for any workweek in which overtime
 19                  compensation is due under section 7(a) of the FLSA;
 20            c.    An explanation of the basis of pay by indicating the monetary
 21                  amount paid on a per hour, per day, per week, or other basis;
 22            d.    The amount and nature of each payment which, pursuant to
 23                  section 7(e) of the FLSA, is excluded from the “regular rate”;
 24            e.    The hours worked each workday and total hours worked each
 25                  workweek;
 26            f.    The total daily or weekly straight time earnings or wages due for
 27                  hours worked during the workday or workweek, exclusive of
 28                 premium overtime compensation;
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  1           g.    The total premium for overtime hours. This amount excludes the
  2                 straight-time earnings for overtime hours recorded under this section;
  3           h.    The total additions to or deductions from wages paid each pay period
  4                 including employee purchase orders or wage assignments;
  5           i.    The dates, amounts, and nature of the items which make up the total
  6                 additions and deductions;
  7           j.    The total wages paid each pay period; and
  8           k.    The date of payment and the pay period covered by payment.
  9   29 C.F.R. 516.2, 516.5.
 10           79.   Defendants have not complied with federal law and have failed to
 11   maintain such records with respect to Plaintiff and the FLSA Class Members.
 12   Because Defendants’ records are inaccurate and/or inadequate, Plaintiff and the
 13   FLSA Class Members can meet their burden under the FLSA by proving that
 14   they, in fact, performed work for which they were improperly compensated, and
 15   produce sufficient evidence to show the amount and extent of their work “as a
 16   matter of a just and reasonable inference.” See, e.g., Anderson v. Mt. Clemens
 17   Pottery Co., 328 U.S. 680, 687 (1946). Plaintiff seeks to put Defendants on
 18   notice that she intends to rely on Anderson to provide the extent of her unpaid
 19   work.
 20           B.    INDIVIDUAL LIABILITY UNDER THE FAIR LABOR STANDARDS ACT
 21           80.   In Boucher v. Shaw, 572 F.3d 1087 (9th Cir. 2009), the U.S. Court
 22   of Appeals for the Ninth Circuit held that individuals can be liable for FLSA
 23   violations under an expansive interpretation of “employer.” Id. at 1088. The
 24   FLSA defines “employer” as “any person acting directly or indirectly in the
 25   interest of an employer in relation to an employee.” 29 U.S.C. § 203(d). The
 26   Ninth Circuit stated that the definition of “employer” under FLSA is not limited
 27   by the common law concept of “employer” but “is to be given an expansive
 28   interpretation in order to effectuate the FLSA’s broad remedial purposes.”
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  1         81.    Where an individual exercises “control over the nature and structure
  2   of the employment relationship,” or “economic control” over the relationship,
  3   that individual is an employer within the meaning of the FLSA, and is subject to
  4   liability. Lambert v. Ackerley,180 F.3d 997 (9th Cir. 1999). The Ninth Circuit
  5   highlighted factors related to “economic control,” which included ownership
  6   interest, operational control of significant aspects of the day-to-day functions, the
  7   power to hire and fire employees, determine salaries, and the responsibility to
  8   maintain employment records.
  9         82.    Ezerzer is individually liable for failing to pay Plaintiff her wages.
 10   The actual identities of DOE Managers 1-3 and DOES 4 through 100 are
 11   unknown at this time.
 12    V.    COLLECTIVE ACTION ALLEGATIONS
 13         83.    Plaintiff hereby incorporates by reference and re-alleges each and
 14   every allegation set forth in each and every preceding paragraph as though fully
 15   set forth herein.
 16         84.    Plaintiff brings this action as an FLSA collective action pursuant to
 17   29 U.S.C. § 216(b) on behalf of all persons who were or are employed by
 18   Defendants as exotic dancers/entertainers at any time during the three (3) years
 19   prior to the commencement of this action to present.
 20         85.    Plaintiff has actual knowledge that the FLSA Class Members have
 21   also been denied overtime pay for hours worked over forty(40) hours per
 22   workweek and have been denied pay at the federally mandated minimum wage
 23   rate. That is, Plaintiff worked with other dancers at Crazy Girls. As such, she has
 24   firsthand personal knowledge of the same pay violations throughout Defendants’
 25   club. Furthermore, other exotic dancers/entertainers at Defendants’ club Crazy
 26   Girls have shared with her similar pay violation experiences as those described in
 27   this Complaint.
 28         86. Other employees similarly situated to the Plaintiff work or have
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  1   worked at Crazy Girls but were not paid overtime at the rate of one and one-half
  2   (1½) their regular rate when those hours exceeded forty (40) hours per
  3   workweek. Furthermore, these same employees were denied pay at the federally
  4   mandated minimum wage rate.
  5         87.    Although Defendants permitted and/or required the FLSA Class
  6   Members to work in excess of forty (40) hours per workweek, Defendants have
  7   denied them full compensation for their hours worked over forty (40).
  8   Defendants have also denied them full compensation at the federally mandated
  9   minimum wage rate.
 10         88.    FLSA Class Members perform or have performed the same or
 11   similar work as the Plaintiff.
 12         89.    FLSA Class Members regularly work or have worked in excess of
 13   forty (40) hours during a workweek.
 14         90.    FLSA Class Members regularly work or have worked and did not
 15   receive minimum wage.
 16         91.    FLSA Class Members are not exempt from receiving overtime
 17   and/or pay at the federally mandated minimum wage rate under the FLSA.
 18         92.    As such, FLSA Class Members are similar to Plaintiff in terms of
 19   job duties, pay structure, misclassification as independent contractors and/or the
 20   denial of overtime and minimum wage.
 21         93.    Defendants’ failure to pay overtime compensation and hours worked
 22   at the minimum wage rate required by the FLSA results from generally
 23   applicable policies or practices, and does not depend on the personal
 24   circumstances of the FLSA Class Members.
 25         94.    The experiences of the Plaintiff, with respect to her pay, are typical
 26   of the experiences of the FLSA Class Members.
 27         95.    The specific job titles or precise job responsibilities of each FLSA
 28   Class Member does not prevent collective treatment.
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  1          96.    All FLSA Class Members, irrespective of their particular job
  2   requirements, are entitled to overtime compensation for hours worked in excess
  3   of forty (40) during a workweek.
  4          97.    All FLSA Class Members, irrespective of their particular job
  5   requirements, are entitled to compensation for hours worked at the federally
  6   mandated minimum wage rate.
  7          98.    Although the exact number of damages may vary among FLSA
  8   Class Members, the damages for the FLSA Class Members can be easily
  9   calculated by a simple formula. The claims of all FLSA Class Members arise
 10   from a common nucleus of facts. Liability is based on a systematic course of
 11   wrongful conduct by the Defendant that caused harm to all FLSA Class
 12   Members.
 13          99.    As such, Plaintiff brings her FLSA claims as a collective action on
 14   behalf of the following class:
 15            All of Defendants’ current and former exotic
 16            dancers/entertainers who worked at the Crazy Girls located in
 17            Canoga Park, California at any time starting three (3) years
 18            before this Complaint was filed or the time similar class action
 19            complaints were filed tolling the statutes of limitations
 20    VI.    CAUSES OF ACTION
 21                             FIRST CAUSE OF ACTION
 22     FAILURE TO PAY MINIMUM WAGE PURSUANT TO THE FLSA, 29 U.S.C. § 206
 23                (By Plaintiff Individually and on Behalf of the Collective
 24                                Against All Defendants)
 25          100. Plaintiff hereby incorporates by reference and re-alleges each and
 26   every allegation set forth in each and every preceding paragraph as though fully
 27   set forth herein.
 28          101. Defendants are engaged in “commerce” and/or in the production of
             COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1   “goods” for “commerce” as those terms are defined in the FLSA.
  2         102. Defendants operate an enterprise engaged in commerce within the
  3   meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
  4   in commerce, and because its annual gross volume of sales made is more than
  5   five hundred thousand U.S. Dollars ($500,000).
  6         103. Defendants failed to pay Plaintiff the minimum wage in violation of
  7   29 U.S.C. § 206.
  8         104. Based upon the conduct alleged herein, Defendants knowingly,
  9   intentionally and willfully violated the FLSA by not paying Plaintiff the
 10   minimum wage under the FLSA.
 11         105. Throughout the relevant period of this lawsuit, there is no evidence
 12   that Defendants’ conduct that gave rise to this action was in good faith and based
 13   on reasonable grounds. In fact, Defendants continued to violate the FLSA long
 14   after they learned that their misclassification scheme and compensation policies
 15   were illegal.
 16         106. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover
 17   from Defendants, minimum wage compensation and an equal amount in the
 18   form of liquidated damages, as well as reasonable attorneys’ fees and costs of the
 19   action, including interest, pursuant to 29 U.S.C. § 216(b).
 20                           SECOND CAUSE OF ACTION
 21    FAILURE TO PAY OVERTIME WAGES PURSUANT TO THE FLSA, 29 U.S.C. § 207
 22               (By Plaintiff Individually and on Behalf of the Collective
 23                                Against All Defendants)
 24         107. Plaintiff hereby incorporates by reference and re-alleges each and
 25   every allegation set forth in each and every preceding paragraph as though fully
 26   set forth herein.
 27         108. Each Defendant is an “employer” or “joint employer” of Plaintiff
 28   within the meaning of the FLSA, 29 U.S.C. § 203(d).
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  1         109. Defendants are engaged in “commerce” and/or in the production of
  2   “goods” for “commerce” as those terms are defined in the FLSA.
  3         110. Defendants operate an enterprise engaged in commerce within the
  4   meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
  5   in commerce, and because its annual gross volume of sales made is more than five
  6   hundred thousand U.S. Dollars ($500,000.00).
  7         111. Defendants failed to pay Plaintiff the applicable overtime wage for
  8   each hour in excess of forty (40) during each workweek in which she worked in
  9   violation of 29 U.S.C. § 207.
 10         112. Based upon the conduct alleged herein, Defendants knowingly,
 11   intentionally and willfully violated the FLSA by not paying Plaintiff the overtime
 12   wage required under the FLSA.
 13         113. Throughout the relevant period of this lawsuit, there is no evidence
 14   that Defendants’ conduct that gave rise to this action was in good faith and based
 15   on reasonable grounds. In fact, Defendants continued to violate the FLSA long
 16   after they learned that their misclassification scheme and compensation policies
 17   were unlawful.
 18         114. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover
 19   from Defendants, overtime wage compensation and an equal amount in the form
 20   of liquidated damages, as well as reasonable attorneys’ fees and costs of the
 21   action, including interest, pursuant to 29 U.S.C. § 216(b).
 22                            THIRD CAUSE OF ACTION
 23      UNLAWFUL TAKING OF TIPS IN VIOLATION OF THE FLSA, 29 U.S.C. § 203
 24              (By Plaintiff Individually and on Behalf of the Collective
 25                                Against All Defendants)
 26         115. Plaintiff hereby incorporates by reference and re-alleges each and
 27   every allegation set forth in each and every preceding paragraph as though fully
 28   set forth herein.
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  1         116. Plaintiff customarily and regularly received more than thirty U.S.
  2   Dollars ($30.00) a month in tips and therefore is a tipped employee as defined in
  3   the FLSA, 29 U.S.C. § 203(t), see also 29 C.F.R. § 531.50.
  4         117. At all relevant times, each Defendant is an “employer” or joint
  5   employer of Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(d).
  6         118. Defendants are engaged in “commerce” and/or in the production of
  7   “goods” for “commerce” as those terms are defined in the FLSA.
  8         119. Defendants operate an enterprise engaged in commerce within the
  9   meaning for the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged
 10   in commerce, and because its annual gross volume of sales made is more than five
 11   hundred thousand U.S. Dollars ($500,000).
 12         120. Under TIPA:
 13                [a]n employer may not keep tips received by its
                   employees for any purpose including allowing managers
 14                or supervisors to keep any portion of employees’ tips,
                   regardless of whether or not it takes a tip credit.
 15
 16         29 U.S.C. § 203.

 17         121. Defendants kept a portion of tips paid to Plaintiff by Defendants’
 18   customers in the form of fees, fines, mandatory charges and other payments to
 19   management, house moms, disc jockeys, and floor men in violation of TIPA.
 20         122. Defendants required Plaintiff to participate in an illegal tip pool,
 21   which included employees who do not customarily and regularly receive tips, and
 22   do not have more than a de minimis, if any, interaction with customers leaving the
 23   tips (such as the Club DJs, security, and management). See U.S. Dep’t of Labor,
 24   Wage and Hour Division, “Fact Sheet # 15: Tipped employees under the Fair
 25   Labor Standards Act (FLSA).”
 26         123. The contribution the Defendants required Plaintiff to make after each
 27   shift was arbitrary and capricious and the distribution was not agreed to by
 28   Plaintiff other dancers; but rather, was imposed upon Plaintiff and other dancers.
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  1         124. By requiring Plaintiff to pool her tips with club management,
  2   including the individual Defendants named herein, Defendants “retained” a
  3   portion of the tips received by Plaintiff in violation of the FLSA.
  4         125. Defendants did not make any effort, let alone a “good faith” effort, to
  5   comply with the FLSA as it relates to compensation owed to Plaintiff.
  6         126. At the time of their illegal conduct, Defendants knew or showed
  7   reckless disregard that the tip-pool which they required Plaintiff to contribute
  8   included non-tipped employees and, therefore, was statutorily illegal. In spite of
  9   this, Defendants willfully failed and refused to pay Plaintiff the proper amount of
 10   the tips to which she was entitled.
 11         127. Defendants’ willful failure and refusal to pay Plaintiff the tips she
 12   earned violates the FLSA.
 13         128. Defendants kept a portion of tips paid to Plaintiff by Defendants’
 14   customers in the form of fees, fines, mandatory charges and other payments to
 15   management, house moms, disc jockeys, and door men in violation of TIPA.
 16         129. As a result of the acts and omissions of the Defendants as alleged
 17   herein, and pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiff is entitled to
 18   damages in the form of all misappropriated tips, plus interest; as liquated
 19   damages, an amount equal to all misappropriated tips, mandatory attorneys’ fees,
 20   costs, and expenses.
 21                                PRAYER FOR RELIEF
 22         WHEREFORE, Plaintiff requests of this Court the following relief:
 23                1. For compensatory damages according to proof at trial of at least
 24                   $100,000 for jurisdictional purposes;
 25                2. For special damages according to proof at trial;
 26                3. For restitution of unpaid monies;
 27                4. For attorneys’ fees;
 28              5. For costs of suit incurred herein;
            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1               6. For statutory penalties;
  2               7. For civil penalties;
  3               8. For pre-judgment interest;
  4               9. For post-judgement interest;
  5               10.For general damages in an amount to be proven at trial;
  6               11.For declaratory relief;
  7               12.For injunctive relief; and
  8               13.For such other and further relief as the tribunal may deem just and
  9                  proper.
 10
 11   Dated: December 16, 2019                          KRISTENSEN LLP
 12
                                                        /s/ John P. Kristensen
 13                                                     John P. Kristensen
                                                        Jesenia A. Martinez
 14
                                                        Jacob J. Ventura
 15                                                     Attorneys for Plaintiff
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  1                            DEMAND FOR JURY TRIAL
  2         Plaintiff hereby demands a trial by jury for all such triable claims.
  3
      Dated: December 16, 2019                         KRISTENSEN LLP
  4
  5                                                    /s/ John P. Kristensen
                                                       John P. Kristensen
  6                                                    Jesenia A. Martinez
  7                                                    Jacob J. Ventura
                                                       Attorneys for Plaintiff
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            COLLECTIVE COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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                           EXHIBIT
                                  “1”
DocuSign Envelope ID: 40B2D2E1-48CE-481C-930F-F9C3C3A0F44D
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                                                                                           John P. Kristensen
                                                                                          Jesenia A. Martinez
                                                                                             Jacob J. Ventura




                                           CONSENT FORM FOR WAGE CLAIM

            Printed Name:


            1.        I consent and agree to be represented by Kristensen LLP and Hughes
            Ellzey, LLP and to pursue my claims of unpaid overtime and/or minimum wage
            and/or improper Tip Pooling through the lawsuit filed against my employer under
            the Fair Labor Standards Act and/or applicable state laws.



            2.        I intend to pursue my claim individually, unless and until the court certifies
            this case as a collective or class action. I agree to serve as the class
            representative if the court approves. If someone else serves as the class
            representative, then I designate the class representatives as my agents to make
            decisions on my behalf concerning the litigation, the method and manner of
            conducting the litigation, the entering of an agreement with the plaintiffs' counsel
            concerning attorney's fees and costs, and all other matters pertaining to this
            lawsuit.



            3.       If my consent form is stricken or if I am for any reason not allowed to
            participate in this case, I authorize Plaintiffs’ counsel to use this Consent Form to
            re-file my claims in a separate or related action against my employer.

                                                                         12/9/2019
            (Signature) __________________________ (Date Signed) _____________________




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